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                                                     Rule / Règle 18

                        SERVICE                                                    SIGNIFICATION

                        RULE 18                                                        RÈGLE 18

               SERVICE OF PROCESS                                SIGNIFICATION DES ACTES DE PROCÉDURE

18.01   When Personal Service is Necessary                      18.01    Cas où la signification personnelle est requise
  Originating Process                                             Acte introductif d’instance
  (1)   An originating process                                    (1)    La signification de l’acte introductif d’instance

  (a) shall be served personally unless provided other‐           a) doit être personnelle, sauf disposition contraire
  wise by an Act or by these rules, and                           d’une loi ou des présentes règles, et

  (b) need not be served on a party who has filed and             b) n’est pas requise à l’égard d’une partie qui a déjà
  served a defence.                                               déposé et signifié une défense.

  Other Documents                                                 Autres documents
   (2) Other documents need not be served personally               (2) La signification personnelle n’est pas requise
unless personal service is expressly required by an Act,        pour les autres documents, sauf prescription expresse
these rules, or an order of the court.                          d’une loi, des présentes règles ou d’une ordonnance de la
                                                                cour.

18.02   How Personal Service Shall be Made                      18.02    Comment se fait la signification personnelle
  (1)   Personal service shall be made as follows:                 (1)   La signification personnelle s’effectue comme
                                                                suit :

  Individual                                                      Particuliers
  (a) on an individual, other than a person under disa‐           a) à un particulier autre qu’une personne frappée
  bility, by leaving a copy of the document with him;             d’incapacité, en lui laissant une copie du document;

  Local Government                                                Gouvernements locaux
  (b) on a local government, by leaving a copy of the             b) à un gouvernement local, en laissant une copie
  document with the mayor, deputy-mayor, clerk, assis‐            du document au maire, au maire suppléant, au gref‐
  tant clerk, or with any solicitor for the local govern‐         fier, au greffier adjoint ou à un avocat représentant le
  ment;                                                           gouvernement local;

  Other Corporation                                               Autres corporations
  (c) on any other corporation, by leaving a copy of              c) à toute autre corporation, en laissant une copie du
  the document with an officer, director, or agent, or            document à un dirigeant, administrateur ou représen‐
  with the manager or a person who appears to be in               tant ou au gérant ou à celui qui paraît en être respon‐
  control or management of any office or other place              sable d’un bureau ou autre établissement de la
  where the corporation carries on business in New                corporation au Nouveau-Brunswick;
  Brunswick;

  Board, Tribunal or Commission                                   Conseils, tribunaux administratifs et commissions
  (d) on any board or commission, by leaving a copy               d) à un conseil ou une commission, en laissant une
  of the document with the secretary, an officer, or a            copie du document au secrétaire, à un agent ou à un
  member;                                                         membre;




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                                                                                                      EXHIBIT 4
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                                                   Rule / Règle 18


   Persons Out of New Brunswick Carrying on Business              Étrangers exerçant un commerce au Nouveau-
in New Brunswick                                                Brunswick
  (e) on any person out of New Brunswick who car‐                 e) à une personne qui ne réside pas au Nouveau-
  ries on business in New Brunswick, by leaving a copy            Brunswick mais qui y exerce un commerce, en lais‐
  of the document with any person in New Brunswick                sant une copie du document à quiconque exerce un
  carrying on business for him in New Brunswick;                  commerce pour lui dans la province;

  Crown in Right of New Brunswick                                 La Couronne du chef du Nouveau-Brunswick
  (f) on the Crown in Right of New Brunswick, by                  f) à la Couronne du chef du Nouveau-Brunswick, en
  serving in accordance with the provisions of the Pro‐           effectuant la signification conformément à la Loi sur
  ceedings Against the Crown Act;                                 les procédures contre la Couronne;

  Crown in Right of Canada                                        La Couronne du chef du Canada
  (g) on the Crown in Right of Canada, by serving in              g) à la Couronne du chef du Canada, en effectuant
  accordance with the provisions of the Crown Liability           la signification conformément à la Loi sur la respon‐
  Act (R.S.C. 1970, c.C-38);                                      sabilité de la Couronne (S.R.C. 1970, c.C-38);

  Attorney General                                                Procureur général
  (h) on the Attorney-General, by leaving a copy of               h) au Procureur général, en laissant une copie du
  the document to be served with him or with any law‐             document à lui personnellement ou à un avocat à
  yer employed in the Office of the Attorney General,             l’emploi du Cabinet du procureur général, la partie du
  the part of the Department of Justice and Public                ministère de la Justice et et de la Sécurité publique qui
  Safety that includes the Legal Services Branch, the             comprend la Direction des services juridiques, la Di‐
  Legislative Services Branch, the Family Crown Ser‐              rection des services législatifs, la Direction des ser‐
  vices Branch and the Public Prosecution Services                vices des procureurs de la Couronne à la famille et la
  Branch, at Fredericton;                                         Direction des services des poursuites publiques, à
                                                                  Fredericton;

  Minor                                                           Mineurs
  (i) on a minor, by leaving a copy of the document               i) à un mineur, en laissant une copie du document à
  with his parent, his guardian, or another adult with            un parent, à un tuteur ou à un autre adulte chez qui il
  whom or in whose care he resides, and, if the minor is          réside ou qui en a la charge et, si le mineur est âgé de
  of the age of 16 years or over, by leaving a copy of            16 ans ou plus, en lui en laissant une copie;
  the document with him;

  Persons with a Representative, Committee or Lack of              Personne ayant un représentant ou un curateur ou qui
Capacity                                                        n’est pas apte
  (j) on a person of whose estate the Public Trustee is           j) à une personne dont les biens ont été commis à la
  the committee by virtue of the Mental Health Act, by            curatelle du curateur public aux termes de la Loi sur
  leaving a copy of the document with the committee;              la santé mentale, en laissant une copie du document
  on a person for whom a representative has been ap‐              au curateur; à une personne pour qui un représentant a
  pointed under the Supported Decision-Making and                 été nommé en vertu de la Loi sur la prise de décision
  Representation Act, by leaving a copy of the docu‐              accompagnée et la représentation, en laissant une co‐
  ment with the representative; on a person who lacks             pie du document au représentant; et à une personne
  the capacity to make decisions with respect to the pro‐         qui n’est pas apte à prendre des décisions relativement
  ceeding but for whom a representative has not been              à l’instance, mais pour qui aucun représentant n’a été
  appointed, by leaving a copy of the document with the           nommé, en lui laissant une copie du document ainsi
  person and with the person in whose care the person             qu’une copie de celui-ci à la personne qui en a la
  resides;                                                        charge;




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  Persons in Psychiatric Facilities                                Pensionnaires d’établissements psychiatriques
  (k) on a person to whom section 44 of the Mental                 k) à une personne visée par l’article 44 de la Loi sur
  Health Act applies, in accordance with the procedure             la santé mentale, conformément à la procédure qui y
  provided therein;                                                est prescrite

  Absentee                                                         Personnes absentes
  (l) on a person declared to be an absentee under the             l) à une personne déclarée absente en vertu de la Loi
  Presumption of Death Act, by leaving a copy of the               sur la présomption de décès, en laissant une copie du
  document with his committee;                                     document à son curateur;

  Partnerships                                                     Sociétés de personnes
  (m) on a partnership by leaving a copy of the docu‐              m) à une société de personnes, en laissant une copie
  ment with one or more of the partners or with any per‐           du document à un ou à plusieurs associés ou à celui
  son at a place of business of the partnership who ap‐            qui, dans un des établissements de la société, paraît en
  pears to be in control or management;                            être responsable;

  Sole Proprietorship                                              Entreprises individuelles
  (n) on a sole proprietorship, by leaving a copy of               n) à une entreprise individuelle, en laissant une co‐
  the document with the sole proprietor or with any per‐           pie du document au propriétaire ou à celui qui, dans
  son at a place of business of the sole proprietorship            un des établissements de l’entreprise, paraît en être
  who appears to be in control or management;                      responsable;

  Unincorporated Associations                                      Associations non constituées
  (o) on an unincorporated association, by leaving a               o) à une association non constituée en corporation,
  copy with an officer of the association or with any              en laissant une copie du document à un dirigeant de
  person at any office or premises occupied by the asso‐           l’association ou à celui qui, dans un bureau ou un lo‐
  ciation who appears to be in control or management.              cal de l’association, paraît en être responsable.

  (2) When effecting service of a document, it is not               (2) Celui qui effectue la signification d’un docu‐
necessary for the server to produce the original docu‐           ment n’est pas tenu de présenter l’original ni de l’avoir
ment or have it in his possession.                               en sa possession.
2006, c.16, s.95; 2008-58; 2012, c.39, s.81; 2013, c.42,         2006, ch. 16, art. 95; 2008-58; 2012, ch. 39, art. 81;
s.10; 2017, c.20, s.87; 2019, c.2, s.79; 2020, c.25, s.65;       2013, ch. 42, art. 10; 2017, ch. 20, art. 87; 2019, ch. 2,
2023-67                                                          art. 79; 2020, ch. 25, art. 65; 2023-67

18.03   Other Ways to Effect Personal Service                    18.03   Autres modes de signification personnelle
  Where available                                                  Applicabilité
   (1) With the exception of Rules 33.03 and 55.03,                (1) Exception faite des règles 33.03 et 55.03, lors‐
where personal service is required by these rules, any ap‐       que les présentes règles requièrent la signification per‐
propriate method of service authorized by this subrule           sonnelle, tout mode de signification approprié et autorisé
may be used.                                                     par le présent article peut être utilisé.

  Service on Solicitor                                             Signification à l’avocat
   (2) A party who is represented by a solicitor may be             (2) La signification d’un document à une partie re‐
served by leaving a copy of the document with his solici‐        présentée par un avocat peut s’effectuer en laissant copie
tor if the solicitor endorses on a copy his acceptance of        à cet avocat, pourvu que celui-ci déclare sur une autre
service and the date of his acceptance. By so doing, the         copie qu’il accepte la signification et indique la date de
                                                                 son acceptation. Par ce fait, l’avocat est réputé avoir lais‐



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solicitor shall be deemed to represent to the court that he       sé entendre à la cour que son client l’a autorisé à accep‐
has the authority of his client to accept service.                ter la signification.

  Service by Prepaid Mail or Prepaid Courier                         Signification par poste affranchie ou par messagerie
                                                                  affranchie
  (3) Where personal service of a document may be                    (3) Lorsque la signification personnelle d’un docu‐
made by leaving a copy with a person pursuant to Rule             ment peut s’effectuer en laissant une copie à quelqu’un
18.02(1), such service may be made anywhere in Canada             conformément à la règle 18.02(1), cette signification
by sending a copy of the document, together with an Ac‐           peut aussi s’effectuer n’importe où au Canada en lui en‐
knowledgement of Receipt Card (Form 18A), by prepaid              voyant par poste affranchie ou par messagerie affran‐
mail or prepaid courier addressed to the person at the last       chie, à sa dernière adresse connue, copie du document
known address of the person.                                      accompagnée d’une carte d’accusé de réception (for‐
                                                                  mule 18A).

   (4) Service by prepaid mail or prepaid courier shall              (4) La signification par poste affranchie ou par mes‐
be deemed to have been effected only if any one of the            sagerie affranchie n’est réputée avoir été effectuée que si
following is returned to and received by the sender:              l’un des éléments suivants est renvoyé et reçu par l’expé‐
                                                                  diteur :

  (a) the Acknowledgement of Receipt Card bearing a                 a) la carte d’accusé de réception portant une signa‐
  signature which purports to be the signature of the               ture qui se veut être celle du destinataire;
  person to whom the document was sent;

  (b) a post office receipt bearing a signature which               b) un récépissé du service des postes portant une si‐
  purports to be the signature or a copy of the signature           gnature qui se veut être celle du destinataire ou une
  of the person to whom the document was sent;                      copie de celle du destinataire;

  (c) any other form of acknowledgement of receipt                  c) une autre forme écrite d’accusé de réception por‐
  in writing bearing a signature which purports to be the           tant une signature qui se veut être celle du destinataire
  signature or a copy of the signature of the person to             ou une copie de celle du destinataire; ou
  whom the document was sent; or

  (d) confirmation in writing from the carrier that the             d) une confirmation écrite du porteur attestant que
  document was delivered to the person to whom the                  le document a été signifié au destinataire.
  document was sent.

   (5) Service by prepaid mail or prepaid courier shall              (5) La signification par poste affranchie ou par mes‐
be deemed to have been effected on the date the sender            sagerie affranchie est réputée avoir été effectuée le jour
receives a receipt or confirmation under paragraph (4).           où l’expéditeur reçoit le récépissé ou la confirmation
                                                                  prévus au paragraphe (4).

  Service at Place of Residence                                     Signification à domicile
   (6) Where an attempt is made to serve a person per‐               (6) Lorsqu’une tentative de signification person‐
sonally at his place of residence and such service cannot         nelle à domicile s’avère sans succès, la signification peut
be effected, the document may be served on him by leav‐           se faire en laissant à une personne qui paraît être majeure
ing a copy in a sealed envelope addressed to him, with            et habiter le même logement que le destinataire, copie du
any person who appears to be an adult and an occupant             document dans une enveloppe scellée et adressée au des‐
of the dwelling in which the person to be served resides,         tinataire, et en envoyant à ce dernier, par poste affran‐
and on the same or next day sending another copy of the           chie, soit le même jour soit le lendemain, une autre copie
document by prepaid mail, addressed to the person to be           du document.
served, at his place of residence.




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  Service on a Corporation                                            Signification à une corporation
   (7) Where an office of a corporation or other place                 (7) Lorsque le bureau d’une corporation ou un autre
where it carries on business in the province cannot be              endroit où celle-ci exerce ses activités dans la province
found and is not located at any address given in the last           ne se trouve pas à l’adresse indiquée dans le dernier état
statement of the corporation delivered to the Service               délivré par la corporation à Services Nouveau-
New Brunswick, the corporation may be served by mail‐               Brunswick et qu’il n’y est pas situé, la signification à la
ing a copy of the document addressed to the corporation             corporation peut s’effectuer en envoyant par la poste co‐
at that address and by mailing a copy of the document to            pie du document à cette adresse et une autre copie à l’un
one of the officers of the corporation at his address               des dirigeants à son adresse telle qu’indiquée dans l’état
shown on the last statement of the corporation delivered            susmentionné.
to the Service New Brunswick.                                       92-3; 99-71; 2006, ch. 16, art. 95
92-3; 99-71; 2006, c.16, s.95

18.04   Substituted Service                                         18.04   Signification indirecte
  (1) Where personal service of a document is re‐                      (1) Lorsque les présentes règles prescrivent la signi‐
quired by these rules, and it appears to the court that it is       fication personnelle mais que la cour estime qu’il est dif‐
impractical to effect prompt personal service, the court            ficile de l’effectuer sans délai, celle-ci peut ordonner la
may make an order for substituted service.                          signification indirecte.

   (2) In an order for substituted service, the court                  (2) Lorsque la cour ordonne la signification indirec‐
shall specify when service in accordance with the order             te, elle doit indiquer à quel moment la signification
is effective.                                                       prend effet.
86-87                                                               86-87

18.05   Where Personal Service Not Required                         18.05 Cas où la signification personnelle n’est pas
                                                                    requise
   A document which is not required to be served per‐                  Tout document dont la signification personelle n’est
sonally on a person                                                 pas requise

  (a) where he has a solicitor of record, shall be                    a) doit être signifié au destinataire par l’intermé‐
  served upon him by serving that solicitor, and such                 diaire de son avocat, au cas où un avocat aurait été
  service may be effected by mailing a copy of the                    commis au dossier. La signification peut s’effectuer
  document addressed to the solicitor at his business ad‐             en envoyant à ce dernier, par la poste et à son adresse
  dress, and                                                          professionnelle, copie du document et

  (b) where he has no solicitor of record, may be                     b) peut être signifié au destinataire, s’il n’a commis
  served upon him by mailing a copy of the document                   aucun avocat au dossier, en lui en envoyant copie par
  addressed to him at the last address for service fur‐               la poste à la dernière adresse qu’il a donnée aux fins
  nished by him or, if no such address has been fur‐                  de signification ou, à défaut, à sa dernière adresse
  nished, at his last known address.                                  connue.

18.06   Service by Mail                                             18.06   Signification par la poste
   Where personal service is not required and where the                 Lorsque la signification personnelle n’est pas requise
mailing of a document is authorized or required by these            et que les présentes règles autorisent ou prescrivent l’en‐
rules, the document shall be sent by prepaid mail or pre‐           voi du document par la poste, ce document doit être ex‐
paid courier and service shall be deemed to have been               pédié par courrier affranchi ou par messagerie
effected on the third day following the date the docu‐              affranchie; la signification sera réputée avoir été effec‐
ment was sent.                                                      tuée trois jour après l’envoi du document.
92-3                                                                92-3




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18.07     Service on Solicitor of Record                         18.07     Signification à l’avocat commis au dossier
   (1) Where service of a document on the solicitor of              (1) Lorsque les présentes règles autorisent ou pres‐
record for a party is authorized or required by these            crivent la signification d’un document à l’avocat commis
rules, the document may also be served                           au dossier, la signification peut aussi lui être faite

  (a) by leaving a copy with an employee in the office             a) en en laissant une copie à un employé, au bureau
  of the solicitor, or                                             de l’avocat, ou

  (b) by faxing the document to the office of the so‐              b) en télécopiant le document au bureau de l’avocat,
  licitor in accordance with paragraph (2) but when it is          en conformité avec le paragraphe (2); toutefois,
  faxed between 4 p.m. and midnight, service shall be              lorsqu’il est télécopié entre 16 h et minuit, la signifi‐
  deemed to have been made on the following day.                   cation est réputée avoir été effectuée le jour suivant.

  (2) A document to be served by fax shall include a               (2) Le document signifié par télécopieur comprend
cover page indicating the following:                             une page couverture qui indique :

  (a) the name, address, telephone number and fax                  a) les nom, adresse, numéro de téléphone et numéro
  number of the sender;                                            de télécopieur de l’expéditeur;

  (b)     the name of the solicitor to be served;                  b) le nom de l’avocat qui doit recevoir la significa‐
                                                                   tion;

  (c)     the date the document is faxed;                          c)    la date à laquelle le document est télécopié;

  (d) the total number of pages to be faxed, including             d) le nombre total de pages à télécopier, y compris
  the cover page; and                                              la page couverture;

  (e) the name and telephone number of a person to                 e) les nom et numéro de téléphone d’une personne‐
  contact if problems occur when the document is                   ressource en cas de difficulté au moment où le docu‐
  faxed.                                                           ment est télécopié.
90-20; 2010-61; 2012-86                                          90-20; 2010-61; 2012-86

18.07.1    Service by Electronic Mail                            18.07.1    Signification par courrier électronique
   (1) Where service of a document on a solicitor is                (1) Lorsque la règle 18.03(2) autorise la significa‐
authorized under Rule 18.03(2) or where service of a             tion d’un document à l’avocat ou que les présentes règles
document on the solicitor of record is authorized or re‐         autorisent ou prescrivent la signification d’un document
quired by these rules, the document may also be served           à l’avocat commis au dossier, la signification peut aussi
by attaching a copy of the document to an e-mail mes‐            lui être faite en joignant copie du document à un courriel
sage sent to the solicitor’s e-mail address in accordance        envoyé à l’adresse électronique de l’avocat conformé‐
with paragraph (2). Service under this paragraph is effec‐       ment au paragraphe (2). La signification effectuée en
tive only if the solicitor being served provides by e-mail       vertu du présent paragraphe n’est valide que si l’avocat
to the sender an acceptance of service and the date of the       qui a reçu signification fournit à l’expéditeur par courriel
acceptance, and where the e-mail acceptance is received          une acceptation de la signification et y indique la date de
between 4 p.m. and midnight, service shall be deemed to          l’acceptation; de plus, si l’acceptation par courriel est re‐
have been made on the following day.                             çue entre 16 h et minuit, la signification est réputée avoir
                                                                 été effectuée le jour suivant.

  (2) The e-mail message to which a document served                 (2) Le courriel auquel est joint un document signifié
under paragraph (1) is attached shall include:                   en vertu du paragraphe (1) contient les renseignements
                                                                 suivants :




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  (a) the sender’s name, address, telephone number,                  a) les nom, adresse, numéro de téléphone, numéro
  fax number and e-mail address;                                     de télécopieur et adresse électronique de l’expéditeur;

  (b)     the date and time of transmission;                         b)    les date et heure de la transmission;

  (c) the name and telephone number of a person to                   c) les nom et numéro de téléphone d’une personne‐
  contact in the event of transmission problems.                     ressource en cas de difficultés de transmission.
2010-61                                                            2010-61

18.08     Service Not Conclusive                                   18.08     Réfutation d’une signification
   (1) Whether or not a person has been served with a                 (1) Qu’une personne ait reçu ou non signification
document in accordance with these rules, the person may            d’un document en conformité des présentes règles, elle
show on a motion to set aside the consequences of de‐              peut établir sur une motion en relevé des conséquences
fault, or on a motion for an adjournment of a proceeding           du défaut, ou en ajournement de l’instance ou en prolon‐
or for an extension of time, that the document                     gation du délai, que le document

  (a)   did not come to the person’s notice, or                      a)    n’a pas été porté à son attention, ou

  (b) came to the person’s notice only at some time                  b) n’a été porté à son attention que quelque temps
  later than when it was served or is deemed to have                 après la signification ou la signification réputée avoir
  been served.                                                       été effectuée.

   (2) On the hearing of a motion referred to in para‐                (2) Lors de l’audition de la motion visée au paragra‐
graph (1), the court may allow the motion if it is satisfied       phe (1), la cour peut, une fois qu’elle est convaincue du
that the applicant has established the grounds referred to         bien-fondé des faits visés aux alinéas (1)a) ou b), accep‐
in clause (1)(a) or (b).                                           ter la motion.
90-20                                                              90-20

18.09     Validating Service                                       18.09     Validation de la signification
   Where a document has been served by some method                     Si la signification a été effectuée par une voie autre
not authorized by an Act, these rules or an order of the           que celle autorisée par une loi, par les présentes règles
court, or where there has been some irregularity in serv‐          ou par une ordonnance de la cour ou s’il y a eu quelque
ice, the court may order that the service be validated on          irrégularité dans la signification, la cour peut ordonner
such terms as may be just, if the court is satisfied that          que la signification soit validée aux conditions qu’elle
                                                                   estime justes, si elle est assurée

  (a) the document came to the notice of the person                  a) que le destinataire a eu connaissance du docu‐
  sought to be served, or                                            ment ou

  (b) the document was left so that it would have                    b) que le document a été laissé de telle sorte que le
  come to the notice of the person sought to be served,              destinataire en aurait pris connaissance s’il n’avait pas
  except for his own attempts to evade service.                      tenté d’éviter la signification.

18.10     Proof of Service                                         18.10     Preuve de la signification
   (1) The service of a document may be proved by an                 (1) La preuve de la signification peut être faite au
affidavit of the person effecting such service (Form               moyen d’un affidavit de la personne qui a effectué la si‐
18B).                                                              gnification (formule 18B).

   (2) The personal service of a document by a sheriff                (2) La preuve d’une signification personnelle effec‐
or his deputy may be proved by a Certificate of Service            tuée par un shérif ou son adjoint se fait par l’inscription
(Form 18C) endorsed on a copy of the document served.


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                                                    Rule / Règle 18


                                                                 du procès-verbal de la signification (formule 18C) sur
                                                                 une copie du document signifié.

   (3) The written admission or acceptance of service               (3) La reconnaissance par écrit ou l’acceptation de
by a solicitor is sufficient proof of service and need not       la signification par un avocat est une preuve suffisante
be verified by an affidavit.                                     de la signification et il n’est pas nécessaire qu’elle soit
                                                                 confirmée par un affidavit.




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